       Case: 1:18-cv-06350 Document #: 1 Filed: 09/17/18 Page 1 of 14 PageID #:1

                                                                                  REGEIVED
                           IN THE UNITED STATES DISTRICT COURT                        SEP17EO1Efi(
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                                                   THoMAo 0.BRLtroN
                                                                               CLERK, U.S. DISTRET EOURr
EDWARD THOMAS KENNEDY,

                               Plaintiff,
                                                                    {:18-cv{16350
                         v.
                                                                    Judge John Robert Btaley
                                                                    tagisffi Ju{e Jefifcy T.           Gilbet
                                                         Case No.


                                                         JURY TRIAL DEMANDED


State of Illinois, University of Notre Dame du Lac,
John   I. Jenkins, Notre Dame Law School,
American Bar Association, American Bar Association
Board of Governors, Nell Jessup Newton, Illinois Bar Association,
John Brennan, Law School Admissions Council, Inc',
Leanne M. Shank, in her official and individual
capacities, Kellye Teste, in her official and
individual capacities,

                               Defendants,

                                        Plaintiff s Original Complaint

INTRODUCTION

         1.     TAKE JUDICIAL NOTICE
         a.     Edward Thomas Kennedy, Plaintiff, is one of the people and in the court of record,
wishes and demands individual defendants, and/or their counsel, to reply and testiff, afftrm, and/or
declare under penalty of pe{ury to this complaint.
         b. Plaintiff Kennedy believes Defendant American Bar Association, in 1947, and its
subsidiary, Illinois Bar Association, promised Eleanor Roosevelt, that their private membership
associations members would comply with the Universal Declaration of Human Rights, link here:
http ://wwwun. org/en/universal-declaration-human-rights. [they lied]
         c. The business model and terms and conditions of the American Bar Association,
and its subsidiary, Defendant Illinois BAR Association, restrains trade in legal advice and services
and prevents the Plaintiff from earning a living.
         d.     Kennedy objects to the latin slang phrase "pro se" and requests CIWECF access.

                                      Plaintiff s Original Complaint
                                                   -l-
        Case: 1:18-cv-06350 Document #: 1 Filed: 09/17/18 Page 2 of 14 PageID #:2




          e.  By Defendant's definition and application of the word "diversity," Defendants are
allowing historical and cultural preversions to receive special status at Notre Dame Law School
admissions, practices and proceduresr in violation of our law, our culfure, the law of this case, and
probably western civilization and ecclesiastical law.
       f.     By ecclesiastical law, and tradition, Kennedy is guaranteed admission to Notre
Dame Law School. Defendants Jenkins and Brennan ignored Plaintiffs two law school
applications and letters but do not ignored the rate of return of Defendant's Endowment Fund.
        g. Jurisdiction is the complaint is a federal questions, venue is proper for the State of
Illinois is within this circuit.

DEFENDANT PARTIES AND JURISDICTION AND VENUE


          2.      This is a federal question maffer, and this court of record has jurisdiction and


venue. Defendant Notre Dame Law School is part of Defendant University of Notre Dame du Lac,


a   corporation, and is headquartered I located in this judicial district. Defendant Newton is Notre


Dame Law School Dean. Defendant Jenkins is President and Chief Executive Officer.


State of Illinois is a corporation and subsidiary of the United States govemment, and is subject to


its laws and jurisdiction. Illinois Bar Association is a private membership association and a


subsidiary of the American Bar Association. John Brennan is chairman University of Notre Dame


du Lac Board of Trustees.


FIRST CAUSE OF ACTION _ TRESPASS



          3.      Edward Thomas Kennedy, (hereinafter "Plaintiff' and/or "Kennedy") is one

of the people of the Pennsylvania, and in this court of record complains of each of            the

following: University of Notre Dame du Lac, John I. Jenkins, Notre Dame Law School,


1
    The Transgender: Normalizing MENTAL ILLNESS, link here:
https ://www. youtube. com,/watchh-aDAU3 SPYFsA&index:2    7   &list:Wl

                                        Plaintiff s Original Complaint
                                                     ,',
       Case: 1:18-cv-06350 Document #: 1 Filed: 09/17/18 Page 3 of 14 PageID #:3




American Bar Association Board of Governors, American Bar Association, Nell Jessup

Newton, State of Illinois, and Illinois Bar Association, Law School Admissions Council,

Inc., Leanne M. Shank, in her offrcial and individual capacities, Kellye Teste, in her offrcial

and individual capacities, hereinafter "Lawbreaker" and,/or "Defendant" and all collectively

"Lawbreakers" and/or Defendants; who are each summoned to answer and declare under

penalty of perjury the said in a plea of trespass, trespass on the case, trespass on the case -

vicarious liability, failure to provide a republican form of government and false advertising,

intentional infliction of emotional distress, restraint of trade, bad faith, and negligence, to

wit:

INTRODUCTION

        4.     Defendants exceeded their jurisdiction by allowing its employees to deny

Kennedy admission      to Notre    Dame Law school. Each Lawbreaker exceeded their

jurisdiction by either directly, through an agent, or        in concert with     another did cause

Kennedy to be unlawfully injured against his will, without jurisdiction or good cause. Said

Lawbreakers, without good cause, harmed Kennedy.

        5.     From the moment he was harmed            till the present,   Kennedy, under color   of

law, was kept in constructive financial imprisonment. Although he objected to the assumed

jtrisdiction, those who kept him financially imprisoned under color of law did not respond

to any of his demands and requests for proof of jurisdiction or for reinstatement of his

liberty or the return of property from Kennedy. They continued to assume the jurisdiction

without proof of jurisdiction or any attempt at proof of jurisdiction. Kennedy continues to




                                     Plaintiff s Original Complaint
                                                  -J-
       Case: 1:18-cv-06350 Document #: 1 Filed: 09/17/18 Page 4 of 14 PageID #:4




be subject, under color of law, to the assumed jurisdiction, will and control of                the

Lawbreakers for he has not been accepted to Notre Dame Law School.

SPECIFICS

        6.      Each defendant acted     in such a way, or failed to act in such a way, that

Kennedy is deprived of his liberty. Each defendant acted to deprive Kennedy of his liberty;

or each defendant failed to act to prevent the loss by Kennedy of his liberty. Further,        each


defendant is a willing participant in concert with each of the remaining defendants.

        7.      At all times mentioned in this action      each defendant is the agent of the other,

and in doing the acts alleged in this action, each is acting within the course and scope of

said agency. The following paragraphs describe what the Lawbreakers, under color of law,

either acted or failed to act as obligated.

        8.      Each defendant exceeded his jurisdiction under color of law. Each defendant

acted   in concert with the remaining         defendants   to affect the unlawful loss of    school

acceptance and liberty of Kennedy

        9.      Kennedy refused to take to the LSAT test and its logic "games" and thus the

Defendant Notre Dame Law School refused to accept Kennedy's law school application, as

evidenced herein. Kennedy was also blocked from the following US law schools:

US SCHOOLS
Status Application Deadline Action
In Progress Albany Law School - Summer 2018 03/1512018
In Progress Ave Maria School of Law - Fall2018     08n5/2018
In   Progress   Boston College Law School -       FaIl2018         0313112018
Transmitted University of California, Berkeley, School of Law - Fall20l8
In   Progress   The Catholic University of America, Columbus School of Law - Fall 2018
06BAl20t8
Transmitted Columbia University School of Law - Fall2018

                                      Plaintiff s Original Complaint
                                                    -4-
          Case: 1:18-cv-06350 Document #: 1 Filed: 09/17/18 Page 5 of 14 PageID #:5




In Progress           Cornell Law School - Fall2018 0210112018
In Progress           Creighton University School of Law - Fall2018                     0710U20t8
Transmitted           Duke University School of Law - Fall2018
Transmitted           Harvard Law School - Fall20l8
In Progress           University of Maine School of Law - Fall20l8    0713u20t8
In Progtess           Marquette University Law School - Fall2018      0410v2018
In Progress           University of Massachusetts School of Law-Dartmouth - Fall2018
0713U20r8
In Progress           University of New Hampshire School of Law - Fall2018 0711512018
Transmitted           New York University School of Law - Fall20l8
In Progress           Notre Dame Law School - FaIl2018 03/1512018
Transmitted           Santa Clara University School of Law - Fall2018
In Progress           Seton Hall University School of Law -                 Fall2018    0410112018
In Progress           University of Southern California, Gould School of Law - Fall 201              8

0210y2018
In Progress           Stanford University Law School - Fall 2018 0210112018
In Progless           Vanderbilt Law School -           FaIl2018           0410112018
In Progress           Vermont Law School -            Fall2018             0411512018
                                                                 2
Transmitted           Yale Law School - Fall2018

For example, similar to Notre Dame Law School,
Reply to Kennedy from Defendant Duke Law Admissions

withdrawal - no renortable LSAT score.

LAW-ADMIS SIONS <admissions@1aw. duke. edu>
hn29 (2017)
              l2@gmail. com
pi llar. of.p e ace.20
Edward Thomas Kennedy

Edward:

Please note that the June LSAT is the latest score that we are able to consider for applications to
the 2018 entering class. Since we do not have the required LSAT score, we are withdrawing your
file   at this time.


If you would like  to re-apply to the 2019 entering class, we will begin accepting those applications
in September.              Review the application checklist and instructions at
https://law.duke.edu/admis/degreeprograms/jd (revised annually in mid-late August).



z
    Source: https://os.lsac.org/Apply/Applications/Select.aspx

                                                   Plaintiff s Original Complaint
                                                                     -5-
       Case: 1:18-cv-06350 Document #: 1 Filed: 09/17/18 Page 6 of 14 PageID #:6




We wish you well in your personal and professional pursuits.
Robin Holman
Assistant Director of Admissions for Operations

* + * * :F {< * i< t< * * * * * * *     {< {<   *   d<   * *


Office of Admissions
Duke University School of Law
Email: admissions@law.duke.edu
Web: https ://law.duke.edu/admis

           10.     Defendants ignored Kennedy's objections, and proceeded under color of law

and stole access to his private data such as school transcripts and funds from Kennedy and

rejected his applications.3

           11.     Defendants have a duty to not cause Kennedy to be harmed under color                               of

law, to not cause loss of liberty. Further, defendants have a duty to prove jurisdiction when

objection to jurisdiction is asserted.

           12.     Defendants have breached that duty.

           13.     The damages for the injury caused by defendants' actions are $1,000 for

each day of unlawful behaviors             for each defendant, or $1,500,000.00 from each defendant,

whichever is greater.

           14.     The damages for the injury caused bydefendant's' absence of required action

is $5,000 for each failure to act, or $1,500,000.00 from                         each defendant, whichever is

greater.

SECOND CAUSE OF ACTION _ TRESPASS ON THE CASE

           15.     Paragraphs 1 through 14 arc included by reference as though                            fully   stated

herein.


3
 Property includes private essays, private data, attachments, transcripts from college and graduate school of business (MBA)
submitted to Defendant LSAC.

                                                    Plaintiff s Original Complaint
                                                                -6-
          Case: 1:18-cv-06350 Document #: 1 Filed: 09/17/18 Page 7 of 14 PageID #:7




           16.   By right, Kennedy reasonably expects to proceed without injury,        secure ln


his capacities. By right, Kennedy reasonably expects to exercise his right to liberry.

           17.   Defendants have a legal duty to use due care and not cause an injury

Plaintiff Kennedy or interfere with said rights in any way.

           18.   Defendants breached that duty       by   proximately    or legally, directly   and

indirectly, causing the injuries to Plaintiff Kennedy.

           19.   The damages claimed are all a result of the injuries.

THIRD CAUSE OF ACTION _ TRESPASS ON THE CASE -VICARIOUS LIABILITY

           20.   Paragraphs 1 through 19 are included by reference as though          fully   stated

herein.

           21.   Power is never without responsibility. And when authority derives in part

from Govemment's thumb on the scales, the exercise of that power by private               persons


becomes closely akin, in some respects, to its exercise by the State of Illinois Government

itself.

           22.   The purpose of imposing vicarious liability is to insure the costs of injuries

resulting from defective actions are placed on the source of the actions and others who

make the actions possible rather than on injured persons who are powerless to protect

themselves. For a defendant to be vicariously liable it must play an integral and vital part in

the overall production and promotion activity so that the actor is in a position to affect

others or, at the very least,   it must provide   a link in the chain of exposing the ultimate

victim to the actor. The vicariously liable defendant must be in the business of controlling,

leasing, bailing, or licensing the actors.




                                      Plaintiff s Original Complaint
                                                   -7-
      Case: 1:18-cv-06350 Document #: 1 Filed: 09/17/18 Page 8 of 14 PageID #:8




          23.   Each defendant is an agent of the other, and each has his place in the chain of

exposing plaintiff Kennedy         to the actors. Each defendant is vicariously liable for each

instance of injury to plaintiff.

FOURTH CAUSE OF ACTION _ FAILURE TO PROVIDE A REPUBLICAN FORM OF

GOVERNMENT AND FALSE ADVERTISING

          24.   Paragraphs    I    through 23 arc included by reference as though fully stated

herein.

          25.   Kennedy wishes Defendants to not breach their fiduciary duty to Kennedy.

Kennedy wishes Defendants to not breach their oaths and to tell the truth.

          26.   Defendants advertise that (they are) quote, "Educating a Different Kind              of

Lawyer" and no word in the phrase is defined.

          27.   The Constitution guarantees to every state a Republican form of government

(Art. 4, Sec. 4). No state may join the United     States unless   it is   a   Republic. Our Republic is

one dedicated to "liberty and justice for a11." Minority individual rights are the priority.

          28.   The people have natural rights instead of civil rights. The people                   are


protected by the    Bill of Rights from     the majority. One vote in a jury can stop all of the

majority from depriving any one of the people of his rights; this would not be so                 if the

United States were a democracy.

          29-    The business models of the University of Notre Dame du Lac, Notre Dame

Law School, Illinois Bar Association and the American Bar Association are based on                     a


foundation of collusion, deceptions, lies, false advertising and fraud, for example:




                                         Plaintiff s Original Complaint
                                                     -8-
        Case: 1:18-cv-06350 Document #: 1 Filed: 09/17/18 Page 9 of 14 PageID #:9




                  Defendants fail to defrne the word law, and fail to disclose the difference

between human rights and       civil rights.

          b.      The business model of Defendant University of Notre Dame du Lac is very

profitable with little or no oversighta on donations or its endowment.s                      In 2015, Total

Revenue 92,184,292,145, Total Functional Expenses $1,356,768,788,                              Net   income

$827,523,357.1n2011, Total Revenue $1,396,955,832, Total Functional Expenses

$1,087,176,906, Net income $309,778,9266 or simply a267Yo gain in net income from 2011

to 2015.

          c.      Concerning the Notre Dame endowment pool at $11.8 billion for fiscal year

2017, Defendant University of Notre Dame's endowment pool returned 12.6 percent for the

fiscal year ending June 30,2017 according to Vice President and Chief Investment Officer

Scott Malpass, and ended the year with a value of $11.8 billion, up from $10.4 billion at the

end of the prior fiscal year.1

          30.     The damages claimed are all a result of the injuries.



FIFTH CAUSE OF ACTION _ INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

          31.     Paragraphs 1 through 30 are included by reference as though                    fully   stated

herein.




a
  College Donors Are Getting Picky, link here:
https://www.bloomberg.com/news/articles/2018-08-15/college-donors-are-getting-picky
5
  For example, $50-million gift from Joan Kroc is largest in University history link here:
 https://news.nd.edu/news/50-million-gift-from-joan-kroc-is-largest-in-university-historyi
for the study of peace and possibly Irish history.
6
  Source IRS Form 990: https://projects.propublica.org/nonprofits/organizations/350868188
7
    https://news.nd.edu/news/notre-dame-endowment-pool-at-118-billion-for-fiscalyear-20171
                                          Plaintiff s Original Complaint
                                                         -9-
    Case: 1:18-cv-06350 Document #: 1 Filed: 09/17/18 Page 10 of 14 PageID #:10




          32.   Defendants advertise and promise (falsely) with intent to harm Kennedy and

we the people, in deference        to   "international" communities, radicals and behaviors that our

civilization historically finds to be perverse. Defendants knowinglys lie, mislead,

misconstrue, misrepresent and put false information into courts of law, the public record

and internet websites by confusing human rights with civil rights, and refusing to comply

with the Universal Declaration of Human Rights. Diversity is defined by Defendants                      as


perverse behaviors.

          33.   The damages claimed are all a result of the mJunes.



SIXTH CAUSE OF ACTION _ RESTRAINT OF TRADE

          34.    Paragraphs    I   through 33 are included by reference as though fully stated

herein.

          35.    Defendants restrain trade in legal services and serve international

communities and their personal and corporate financial interests ahead of their fiduciary

duty to Kennedy.

          36.    Defendant State of Illinois grants the Illinois Bar Association and its dues

paying members a monopoly over "practicing law,"

          37. This said policy violates United States law, specifically the Sherman
Antitrust Act of 1890. (26 Stat. 209,        15   U.S.C. $$ 1-7).'

          38.    The damages claimed are all a result of the injuries.

SEVENTH CAUSE OF ACTION _ BAD FAITH



8
 in violation of their oaths to the federal govemment and we the people.
e
 The Sherman Act broadly prohibits (l) anticompetitive agreements and (2) unilateral conduct that monopolizes or
attempts to monopolize the relevant market.

                                            Plaintiff s Original Complaint
                                                         -10-
    Case: 1:18-cv-06350 Document #: 1 Filed: 09/17/18 Page 11 of 14 PageID #:11




          39.   Paragraphs   I   through 38 are included by reference as though fully stated

herein.

          40.   Bad faith is not only defined by the Law of the Case, Exhibit l, but also is a

concept defined by court decisions in case law. Bad faith is also defined as a noun and an

adjective, as follows:

          a.    noun. intentional dishonest act          by not fulfiUing legal or    contractual

obligations, misleading another, entering into an agreement without the intention or means

to fulfill it, or violating basic standards of honesty in dealing with others. Most states

recognize what    is called "implied covenant of good faith and fair dealing" which             is

breached by acts of bad faith, for which a lawsuit may be brought (filed) for the breach (just

as one might sue for breach of contract).


          b.    adjective. when there is bad faith then a transaction is called a "bad faith"

contract or "bad faith" offer.

          41.   Defendants refused to process Kennedy's application to US law schools and

made bad faith offers relative to Kennedy previous acceptance to the Notre Dame Law

School.

          42.   The damages claimed are all a result of the injuries.

EIGHTH CAUSE OF ACTION _ NEGLIGENCE

          43.   Paragraphs 1 through     42 are included by reference as though fully       stated

herein.

          44.   In the law of this case and in tort law, negligence is a distinct cause of action.



                                       Plaintiff s Original Complaint
                                                   -l   l-
    Case: 1:18-cv-06350 Document #: 1 Filed: 09/17/18 Page 12 of 14 PageID #:12




       45-     The Restatement (Second) of Torts defines negligence as "conduct that falls

below the standard established by law for the protection of others against unreasonable risk

of harm."

       46.     Negligence in this court of record consists of five elements, including the

following: (1) a duty of care owed by the Defendant to the Plaintiff; (2) abreach of that

duty; (3) an actual causal connection between the Defendant's conduct and the resulting

harm; (4) proximate cause, which relates to whether the harm was foreseeable; and (5)

damages resulting from the Defendant's conduct.

       47.     The damages claimed are all a result of the ruunes.

LAW OF THE CASE

       48.     Exhibit o'1" is incorporated by reference as though fully stated herem.

        49.    The date of the claim is the date of the hearing Statutes and codes shall be

the rules of decision as long as they are not in conflict with the common law. In a court   of

record, a judge has no discretion. Discretion is reserved to the independent tribunal. When

the word "law" is used without qualification, it means common law.

REQUEST FOR RELIEF

       50.     For that cause of action therefore Plaintiff brings his suit.

       51.     WHEREFORE, Plaintiff prays judgment against Defendants, and each of

them, as follows:

On all causes of action:


        52.    For general damages in the sum of $1,000 for each day of unlawful behaviors for


each defendant, or $1,500,000.00 from each defendant, whichever is greater;



                                     Plaintiff s Original Complaint
                                                  -t2-
    Case: 1:18-cv-06350 Document #: 1 Filed: 09/17/18 Page 13 of 14 PageID #:13




        53.    For damages for the injury caused by defendant's' absence of required actions            of

$5,000 for each failure to act;   or   $1, 500,000.00 from each defendant, whichever is greater;


        54.    That the court enter a declaratory judgment that defendants have acted arbitrarily


and capriciously, have abused their discretion and have acted not in accordance with law, but


under color of law;


        55.    That the court enter a declaratory judgment that defendants have                 acted

contrary to constitutional right, power or privilege;

        56.    That the court order Defendants Jenkins, Brennan, and Newton                      and

Defendant Notre Dame Law School to admit Plaintiff to said Law School for both Fall20l8

and Fall 2019 tuition free with first-class direct and indirect expenses prepaid and granted to

the Plaintiff with no time limitations, or pay Kennedy one percent        of 2017 net profit;

        57.     That the court enter a declaratory judgment that defendants' actions were ln

excess of statutory jurisdiction, authority and short of statutory right by all defendants;

        58.     That the court permanently enjoin defendants from interfering in any way

with Kennedy's lawful rights and honor all their fiduciary duty to Kennedy;

        59.     That the court Order Defendants American Bar Association, State of Illinois

and the Illinois Bar Association Kennedy authority to practice law in their jurisdictions

without delay and free of payment of dues, or compensate Kennedy twenty-five million

dollars ($25,000,000) net of all tax;

        60.     That the court Order Defendants Law School Admissions Council, Inc.,


Leanne M. Shank, in her official and individual capacities, Kellye Teste, in her official and


individual capacities, to comply with us law in their policies, practices, tests and admission

                                         Plaintiff s Original Complaint
                                                     _   l3_
    Case: 1:18-cv-06350 Document #: 1 Filed: 09/17/18 Page 14 of 14 PageID #:14




practice website platform;


         61.    That the court Order Defendants Law School Admissions Council, Inc.,


Leanne   M. Shank, in her official and individual capacities, Kellye Teste, in her official and

individual capacities, to compensate Kennedy for injuries at five million dollars ($5,000,000.00);

         62.    That the court order a forensic audit of Defendants Jenkins and Brennan

nunc pro tune to determine facts concerning the Kennedy family and Plaintiff Kennedy's

donations, wishes and spent donated funds by Defendant University of Notre Dame du Lac

according to stated wishes of the sais donors;

         63.    That the court Order Defendants Law School Admissions Council, Inc.,

American Bar Association Board          of   Governors, and American Bar Association,             a


subsidiary of the International Bar Association, to register as foreign agents with the United

States government;

         64.    That the court grant such, other and further relief as the court deems proper;

         65. I, Edward       Thomas Kennedy, declare under penalty            of perjury that   the

foregoing facts are true and correct to the best of my knowledge.

Date: September, 10, 2018
                                                         Respectfully submitted,




                                                         EDWARD THOMAS
                                                         401 Tillage Road
                                                         Breinigsville, PA 1803 I
                                                         Email : kennedy20 I 8@alumni.nd. edu
                                                         Telephone: 41 5 -27 5 -1,244.
                                                         Fax: 570-609-1810.

                                      Plaintiff s Original Complaint
                                                  -14-
